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                                               U.S. Department of Justice
                                               Civil Division, Appellate Staff
                                               950 Pennsylvania Ave. NW, Rm. 7513
                                               Washington, DC 20530

Maxwell A. Baldi                                                           (202) 532-0211
maxwellbaldi@usdoj.gov


                                        May 12, 2025

VIA ACMS
Molly C. Dwyer, Clerk of Court
U.S. Court of Appeals for the Ninth Circuit
James R. Browning United States Courthouse
95 7th Street
San Francisco, CA 94103

Re:   In re Trump, No. 25-3034
      American Federation of Government Employees v. Trump, No. 25-3030

Dear Ms. Dwyer:

   I write to inform the Court that earlier this afternoon the district court postponed
the government’s deadline to produce Agency RIF and Reorganization Plans while it
considers the government’s motion for reconsideration or for a protective order.
Dkt. 92. The court ordered plaintiffs to respond to defendants’ motion in district
court on Tuesday, May 13, and that defendants may file a reply on Wednesday, May
14. Id. A copy of the district court’s order is attached.

    The government is still required to certify compliance by tomorrow with the
injunctive relief ordered by the district court. The government continues to
respectfully request that this Court rule on its stay motion by Thursday, May 15.

                                        Sincerely,

                                        /s/ Maxwell A. Baldi
                                        Maxwell A. Baldi

cc:   All counsel of record (via ACMS)
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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7         AMERICAN FEDERATION OF                          Case No. 25-cv-03698-SI
                                             GOVERNMENT EMPLOYEES, AFL-CIO,
                                   8         et al.,
                                                                                             ORDER SETTING BRIEFING
                                   9                      Plaintiffs,                        SCHEDULE FOR MOTION FOR
                                                                                             PROTECTIVE ORDER AND
                                  10               v.                                        POSTPONING DISCOVERY
                                                                                             DEADLINE
                                  11         DONALD J. TRUMP, et al.,
                                                                                             Re: Dkt. No. 88
                                  12                      Defendants.
Northern District of California
 United States District Court




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                                  14             On Friday, May 9, 2025, the Court issued an order that compelled certain expedited

                                  15   discovery from defendants, with a deadline for production of Tuesday, May 13, at 4:00 p.m. (PDT).

                                  16   Dkt. No. 85. On Sunday, May 11, 2025, defendants filed a Motion for Protective Order or in the

                                  17   Alternative For Reconsideration on the basis of the deliberative process privilege, seeking a stay of

                                  18   the production deadline. Dkt. No. 88. The parties have conferred and neither plaintiffs nor

                                  19   defendants oppose a postponement of the May 13 discovery deadline while the motion is more fully

                                  20   considered by the Court. Accordingly, the deadline in the Court’s expedited discovery order in

                                  21   Docket Number 85 that requires defendants Office of Budget and Management and Office of

                                  22   Personnel Management to produce certain materials by Tuesday, May 13, 2025 (see Dkt. No. 85 at

                                  23   40), is stayed until the Court rules on defendants’ motion.

                                  24             The Court sets the following briefing schedule:

                                  25             Plaintiffs’ response to defendants’ motion is due on Tuesday, May 13, 2025.

                                  26             Defendants may file a reply on Wednesday, May 14, 2025.

                                  27   ///

                                  28   ///
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                                   1          The Court will determine whether to schedule a hearing on the motion after considering the

                                   2   parties’ written submissions.

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                                   4          IT IS SO ORDERED.

                                   5   Dated: May 12, 2025

                                   6                                                 ______________________________________
                                                                                     SUSAN ILLSTON
                                   7                                                 United States District Judge
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Northern District of California
 United States District Court




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